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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                                Case No.1:16-cv-08637
                                                          Hon. Judge Thomas M. Durkin
This Document Relates To:                                 Magistrate Jeffrey T. Gilbert
Winn-Dixie, Inc., et al. v. Koch Foods, Inc., et al.,
Case No. 1:18-cv-00245
                                                          NOTICE OF MOTION




         PLEASE TAKE NOTICE that on April 23, 2019, at 9:00 a.m., or as soon as counsel may

 be heard, the undersigned counsel will appear before the Honorable Judge Thomas M. Durkin, or

 any judge sitting in his stead, in Room 1441 of the U.S. District Court of the Northern District of

 Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois, and present Winn-Dixie’s

 Motion for Leave to File Exhibits A & B to Docket No. 2074 Under Seal, copies of which are

 hereby served upon you.

  Dated: April 16, 2019

                                                    Respectfully submitted,


                                                    /s/ Patrick J. Ahern
                                                    Patrick J. Ahern, Esq.
                                                    Theodore B. Bell, Esq.
                                                    Ahern & Associates, P.C.
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                                                    Attorneys for Winn-Dixie Stores, Inc. and Bi-Lo
                                                    Holdings, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of April, 2019, a true and correct copy of the foregoing

was electronically filed and served on counsel for all parties properly registered to receive notice

via the Court’s CM/ECF system.


                                                             /s/ Patrick J. Ahern
                                                             Patrick J. Ahern




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